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                         IN THE UNITED STATES BANKRUPTCY
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


                           REQUEST FOR CHANGE OF ADDRESS

Case Name: In Re Ali-Gadson, Keidra Aiesha

Case No: 19-59740-WLH

Change of Address For: Debtor

Change For: Notices ONLY

EFFECTIVE DATE OF CHANGE: January 17, 2022

Name:                             Keidra Aiesha Ali-Gadson

Prior Address:                    1691 Tree Line Rd, Lithonia, GA 30058


New Address:                      Keidra Aiesha Ali-Gadson
                                  P.O.Box 1284
                                  Redan, GA 30074


Change of Address Was Furnished By:      Attorney


Date: January 17, 2022            Signature of Filer: /s/ Rushi Patel
                                  Telephone Number: 404-490-2998


                                IF FILED BY ATTORNEY

Attorney Name:                                  Rushi Patel
Bar ID:                                         791855
Address:                                        The Patel Law Group, LLC
                                                1995 N. Park Pl. SE, Ste 565
                                                Atlanta, GA 30339
